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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      Case No. 1:22-cv-24066-KMM
   GRACE, INC., et al.,

           Plaintiﬀs,

   v.

   CITY OF MIAMI,

           Defendant.
                                       /

                                  JOINT PRETRIAL STIPULATION

           Plaintiﬀs Grace, Inc., Engage Miami, Inc., South Dade Branch of the NAACP, Miami-

   Dade Branch of the NAACP, Clarice Cooper, Yanelis Valdes, Jared Johnson, Alexandra Contreras,

   and Steven Miro (together, “Plaintiﬀs”) and the City of Miami (the “City” or “Defendant” and,

   together with Plaintiﬀs, the “Parties”), by and through their respective attorneys, and pursuant to

   this Court’s February 24, 2023 Scheduling Order, ECF 32, and S.D. Fla. Local R. 16.1(e), jointly

   submit this pretrial stipulation, and state:

   1. A short, concise statement of the case by each party in the action.

   Plaintiffs:

           ^is action challenges the ﬁve Miami City Commission districts as racially gerrymandered

   in violation of the Fourteenth Amendment’s Equal Protection Clause, both in the map passed by

   the City of Miami on March 24, 2022 (the “2022 Plan”) and the subsequent map passed by the

   City of Miami on June 14, 2023 (the “2023 Plan”). In these two plans, the City sought to do more

   than merely impose a run-of-the-mill racial gerrymander in which the majority seeks to diminish

   minority voters’ inﬂuence and power. Rather, the Plans are the product of a calculated scheme in

   which communities and neighborhoods were split along racial lines for the predominant purpose


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   of maintaining racially segregated districts. As Commissioner Alex Díaz de la Portilla put it: “Our

   goal here is to have an African American district, . . . a white district, . . . and three Hispanic

   districts.”

           In this scheme, race-based considerations were the predominant factor. Race was the

   predominant factor in maintaining arbitrary racial quotas; in packing certain districts with as many

   Hispanic and Black residents as possible; in maintaining racial “purity” with the “same type of last

   name and faces”; in the decision to perpetuate existing districts’ cores, which were themselves

   race-based; and in the Commission’s overt command that Black, Hispanic, and Anglo residents

   must be separated as much as possible into diﬀerent districts because, in the Commission’s view,

   each race needs to be represented by a co-ethnic, irrespective of Miami’s communities or their

   interests and values. ^ere is no valid reason for this practice, which is “by [its] very nature odious

   to a free people whose institutions are founded upon the doctrine of liberty.” Shaw v. Reno (Shaw

   I), 509 U.S. 630, 643 (1993).

           “^e Equal Protection Clause prohibits a State, without suﬃcient justiﬁcation, from

   ‘separat[ing] its citizens into diﬀerent voting districts on the basis of race.’” Bethune-Hill v. Va.

   State Bd. of Elections (Bethune-Hill I), 580 U.S. 178, 187 (2017) (quoting Miller v. Johnson, 515

   U.S. 900, 911 (1995)). Because race was the predominant factor motivating district lines, the City

   must satisfy strict scrutiny by proving that its use of race “serves a ‘compelling interest’ and is

   ‘narrowly tailored’ to that end.” Cooper v. Harris, 581 U.S. 285, 292 (2017) (quoting Bethune-Hill

   I, 580 U.S. at 193). ^e City cannot meet that burden. Although courts assume governments have

   a compelling interest in complying with Section 2 of the Voting Rights Act (VRA), id., the City’s

   use of race was not narrowly tailored to achieve that laudable goal. ^e City cannot show that it

   narrowly tailored its use of race with a “functional analysis” assessing racial bloc voting to



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   determine the proportion of minority voters needed in a district to allow those voters to usually

   elect their preferred candidates. Bethune-Hill I, 580 U.S. at 194. Instead, the City set “mechanical

   racial targets,” imposing a 50% Black voting-age population (BVAP) quota for District 5, and

   aiming to get the Hispanic and Anglo populations as high as possible in Districts 1, 3, and 4; and

   District 2, respectively. Ala. Legis. Black Caucus v. Alabama (ALBC I), 575 U.S. 254, 267 (2015).

   Narrow tailoring requires far more than just picking a number or shooting for the maximum.

   Further, the City misused key metrics of VRA compliance and ignored the absence of fundamental

   preconditions for VRA liability in Districts 1, 2, 3, and 4. ^e predominance of race-based thinking

   in the City Commission’s decisions does not advance representation and cannot be justiﬁed by

   compliance with the Voting Rights Act or any other compelling interest. Stated simply, the City’s

   racially gerrymandered redistricting schemes—both under the 2022 Plan and 2023 Plan—violate

   Plaintiﬀs’ rights to the equal protection of the laws.

   Defendant:

      Proving a racial gerrymandering claim under the Fourteenth Amendment requires a

   demonstration that “race was the predominant factor motivating the legislature’s decision to place

   a significant number of voters within or without a particular district.” Cooper v. Harris, 581 U.S.

   285, 291 (2017). The test for racial gerrymandering is not merely whether race was discussed, but

   whether it actually resulted in a racial gerrymander of a significant number of voters. Id. It applies

   district-by-district, and a whole map challenge is improper. Alabama Legis. Black Caucus v.

   Alabama, 575 U.S. 254, 262 (2015). At the core of Plaintiffs allegations are that the City drew the

   district lines “for the predominant purpose of maintaining racially segregated districts.” (DE 143,

   ¶1).




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       Here, the City has a supermajority Hispanic population, and the racial composition of the City’s

   five districts has generally remained the same since districts were first created in 1997: three

   supermajority Hispanic districts, one VRA required majority African-American district, and one

   plurality district.

           Neither the 2022 nor the 2023 Plan were drawn to affect a racial gerrymander—it is

   indisputable that if one were to draw a Black VRA district as the parties agree was required, then

   the resulting districts would necessarily be at least three supermajority Hispanic districts and a

   plurality district, or alternatively, three supermajority Hispanic districts and a Hispanic majority

   district, as demonstrated by the redistricting plans Plaintiffs have proposed. Plaintiffs rely

   primarily on statements made by the City’s commissioners with respect to the enactment of the

   2022 Plan in support of their racial gerrymandering claim, despite none of those commissioners

   expressing any specific direction to racially sort specific groups of voters into any particular

   district based upon their race, nor any intent to increase or decrease the racial makeup of any

   district. The City Commission is entitled to a presumption of good faith and the Commissioners’

   discussions were in the context of the mathematical reality the City faces with respect to its

   obligation to draw a VRA-compliant Black district and its densely concentrated supermajority

   Hispanic population.

           The Parties agree that the City was required to maintain a district that would continue to

   perform for the Black candidate of choice to comply with the Voting Rights Act. To make out a

   vote-dilution claim under Section 2 of the VRA, a racial or language minority group must satisfy

   three preconditions: (1) the minority group “is sufficiently large and geographically compact to

   constitute a majority in a single-member district,” (2) the minority group “is politically cohesive,”

   and (3) the “majority votes sufficiently as a bloc to enable it . . . usually to defeat the minority’s



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   preferred candidate.” Thornburg v. Gingles, 478 U.S. 30, 50–51 (1986) (cleaned up). At the time

   redistricting was required, District 5 had a Black voting age population of 52.9% and needed to

   gain population to comply with the Equal Protection Clause. When the City retained District 5, it

   reduced the Black voting age population in the district, maintaining a bare 50.3% majority Black

   voting age population. Objectively, this district was narrowly tailored to comply with the VRA at

   50.3%. The City analyzed, and the 2022 Plan validated, that 50.3% was sufficient to continue to

   perform for the Black candidate of choice in District 5.

             As alluded to, it is not only likely that the City will continue to have three supermajority

   Hispanic districts, a district that will provide Black voters an equal opportunity to elect their

   candidate of choice, and a plurality district, Plaintiffs’ four proposed maps confirm this reality,

   thereby undermining their claim that the City engaged in such division for “the predominant

   purpose of maintaining racially segregated districts.” (DE 23, ¶1). Logically, if Plaintiffs four

   alternative plans are not considered racially gerrymandered because they maintain the same

   substantial racial makeup, then neither can the City’s 2022 and 2023 Plans.

   2. The basis of federal jurisdiction.

             This Court has jurisdiction under 28 U.S.C. §§ 1331, 1343, 2201, and 2202, as well as 42

   U.S.C. §§ 1983 and 1988, because this action arises under the Constitution and laws of the United

   States.

   3. The pleadings raising the issues.

             Plaintiffs filed a Second Amended Complaint on December 29, 2023. ECF 143. Defendant

   plans to file an Answer and Affirmative Defenses to the Second Amended Complaint on January

   12, 2024.




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   4. A list of all undisposed of motions or other matters requiring attention by the Court.

          Plaintiffs filed an unopposed Motion to Permit Dr. Cory McCartan to Testify Remotely on

   January 11, 2024.

   5. A concise statement of uncontested facts which will require no proof at trial, with
      reservations, if any.

          1)      Defendant CITY OF MIAMI is a Florida municipality. As a municipal corporation

   established under Florida law, Miami has the authority to regulate and conduct its elections,

   including establishing its Commission district boundaries, consistent with state law.

          2)      Miami is governed by a five-member City Commission and a Mayor.

          3)      Except where the Miami City Charter provides otherwise, municipal elections are

   conducted according to the state’s general election laws.

          4)      Since 1997, commissioners have been elected from single-member districts.

          5)      Commissioners run on a nonpartisan basis and serve four-year staggered terms,

   with Districts 1, 2, and 4 last elected in 2023 and next up in 2027, and Districts 3 and 5 last elected

   in 2021 and next up in 2025.

          6)      General municipal elections are held on the first Tuesday after the first Monday in

   November of odd-numbered years.

          7)      Except for candidate qualifying, which is managed by the City Clerk, the Miami-

   Dade County Elections Department administers municipal elections for the City.

          8)      Commissioners are limited to two consecutive terms.

          9)      The current commissioners are Miguel Angel Gabela (District 1), Damian Pardo

   (District 2), Joe Carollo (District 3), Manolo Reyes (District 4), and Christine King (District 5).

          10)     The 2021–22 redistricting process produced the 2022 Plan, enacted in Resolution

   R-22-131.

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           11)    The 2023 redistricting process produced the 2023 Plan, enacted in Resolution R-

   23-271.

           12)    The District 1 and 2 commissioners during the 2021–22 redistricting process were

   Alex Díaz de la Portilla and Ken Russell, respectively.

           13)    The District 1 and 2 commissioners during the 2023 redistricting process were Alex

   Diaz de la Portilla and Sabina Covo, respectively.

           14)    Díaz de la Portilla, Carollo, Reyes, and Gabela are Hispanic and Cuban American.

   Covo and Pardo are Hispanic. King is Black and not Hispanic. Russell is White and Japanese

   American and not Hispanic.

           15)    Díaz de la Portilla was first elected in 2019 and lost reelection in the November

   2023 election held under the 2023 Plan.

           16)    King was first elected in 2021 and is eligible for reelection in 2025.

           17)    Reyes was first elected in a 2017 special election and was reelected in the

   November 2023 election held under the 2023 Plan.

           18)    Carollo was first elected in 2017, was reelected in 2021 under the 2013 plan, and is

   ineligible for reelection when his current term ends in 2025.

           19)    Russell ran for Congress in the 2022 election and resigned on December 29, 2022.

           20)    Covo was elected in a February 2023 special election held under the 2022 Plan and

   lost reelection in the November 2023 election held under the 2023 Plan.

           21)    Damian Pardo was first elected in the November 2023 election held under the 2023

   Plan.

           22)    Miguel Gabela was first elected in the November 2023 election held under the 2023

   Plan.



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   III.   The 2021-2022 Redistricting Process

                  A.        The February 25, 2021 Meeting

          23)     On February 25, 2021, the Commission hired Miguel De Grandy and Stephen M.

   Cody to serve as the City’s redistricting consultants and draw new commission maps. De Grandy

   and Cody had previously served as the City’s redistricting consultants in redistricting processes in

   2003 and 2013.

          24)     ^e demographics for the 2013 Plan are below.

                                            2013 Plan Demographics

                        Population and Deviation         2020 Census Voting Age Population

                                                                         Black         White
                       D#     Total Pop.   Pop. Dev.     Hisp. VAP
                                                                         VAP           VAP
                     1            81,449       (6,999)        91.0%        10.1%         3.0%
                     2           117,281       28,833         51.9%         7.7%        34.5%
                     3            80,169       (8,279)        88.5%         5.6%         7.4%
                     4            80,601       (7,847)        91.6%         2.9%         6.0%
                     5            82,741       (5,707)        41.6%        52.9%         7.8%
                    Total        442,241                      71.1%        14.8%        13.9%


          25)     A true and accurate representation of the Miami City Commission districts under

   the 2013 Plan is below:




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          26)     The Voting Rights Act requires the districts to be drawn in such a way to afford

   Black voters an equal opportunity to elect candidates of their choice in at least one district.

          B.      The November 18, 2021 Meeting

          27)     At a Commission meeting on November 18, 2021, De Grandy presented an initial

   report on redistricting considerations and the 2020 Census demographics of the districts under the

   2013 Plan.

          28)     Following the 2020 U.S. Census (the “2020 Census”), the City’s Commission

   Districts no longer had substantial equality of population, and the ideal Commission district size

   had increased to 88,448.


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           29)     District 2 was substantially overpopulated and had to “shed” population to the other

    four districts to bring the population variance back to constitutionally acceptable levels.

           D.      The February 7, 2022 Meeting

           30)     At a Commission meeting on February 7, 2022, De Grandy presented a draft

    redistricting plan (the “Feb. 7 Draft”) to the Commission. A true and accurate representation of

    the Miami City Commission districts under the Feb. 7 Draft, showing the 2013 Plan overlaid with

    blue lines, is below:




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           31)     ^e demographics for the February 7 Draft are below:

                                      February 7 Draft Demographics
                       Population and Deviation     2020 Census Voting Age Population
                                                                 Black       White
                      D#   Total Pop. Pop. Dev. Hisp. VAP
                                                                  VAP         VAP
                      1         88,775          327     88.7%       10.5%       4.3%
                      2         88,363         (85)     47.8%        7.8%      37.6%
                      3         87,600        (848)     88.4%        5.5%       7.6%
                      4         90,437       1,989      88.1%        3.4%       8.7%
                      5         87,066     (1,382)      41.6%       49.8%      10.1%
                     Total     442,241                  71.1%       14.8%      13.9%


           E.      Te February 25, 2022 Meeting

           32)     On February 25, De Grandy presented a revised plan he had submitted three days

    prior (the “Feb. 22 Draft”). Except for three unpopulated census blocks that were later moved from

    District 1 to 5, the Feb. 22 Draft became the 2022 Plan. A true and accurate representation of the

    Feb. 22 Draft, showing the Feb. 7 Draft overlaid with blue lines, is below:




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           33)     The Commission voted 4-1 to take the Feb. 22 Draft as the “Base Plan” for future

    changes, to be debated at the next meeting. Only Russell voted no.


                   F.      Te March 11, 2022 Meeting

           34)     ^e Commission took up the Base Plan again on March 11, 2022.

           35)     Russell proposed to restore all of Coconut Grove to District 2, rather than moving

    portions into Districts 3 and 4. A true and accurate representation of Russell’s proposed plan (the

    “Initial Russell Plan”) is below:




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           G.     Te March 24, 2022 Meeting

           36)    ^e Commission reconvened on March 24, 2022 for its last redistricting meeting of

    the 2021–22 process.

           37)    De Grandy then presented the options that each commissioner directed him to

    develop since March 11. ^ere were proposals from King, Díaz de la Portilla, Russell, and Reyes.

           38)    A true and accurate representation of King’s proposed plan is below.




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          39)    A true and accurate representation of Díaz de la Portilla’s proposed plan is below.




          40)   A true and accurate representation of Russell’s revised plan is below.




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    41) A true and accurate representation of the Reyes’ proposed plan is below.




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           42)     De Grandy advised that each proposed amendment complied with the Constitution

    and the Voting Rights Act.

           43)     The Base Plan with the change proposed by King passed as the 2022 Plan. Díaz de

    la Portilla, Carollo, and King voted yes. Reyes and Russell voted no.

           44)     Mayor Suarez chose not to veto the 2022 Plan, which went into eﬀect ten days after

    it became law and was used in the February 2022 special election for District 2.

           45)     ^e demographics for the 2022 plan are below.

                                         2022 Plan Demographics
                       Population and Deviation     2020 Census Voting Age Population
                                                                 Black       White
                      D#   Total Pop. Pop. Dev. Hisp. VAP
                                                                  VAP         VAP
                      1         88,108        (340)     89.5%       11.0%       3.5%
                      2         93,300       4,852      48.6%        7.3%      37.4%
                      3         87,658        (790)     88.3%        5.4%       7.7%
                      4         86,597     (1,851)      89.5%        3.1%       7.6%
                      5         86,578     (1,870)      40.6%       50.3%      10.5%
                     Total     442,241        7.6%      71.1%       14.8%      13.9%


    IV.    Te 2023 Redistricting Process

           46)     On December 15, 2022, Plaintiﬀs ﬁled this action, alleging that the 2022 Plan

    constituted racial gerrymandering in violation of the Fourteenth Amendment’s Equal Protection

    Clause. ECF 1.

           47)     On February 10, 2023, Plaintiﬀs ﬁled a First Amended Complaint and moved for a

    preliminary injunction against the implementation of the ﬁve districts in the 2022 Plan. ECF 23,

    26.




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           48)     On May 3, 2023, Magistrate Judge Louis issued a Report & Recommendation in

    this case, recommending that this Court grant Plaintiﬀs’ motion for a preliminary injunction and

    enjoin implementation of the ﬁve districts in the 2022 Plan. ECF 52.

           49)     On May 23, the Court adopted Magistrate Judge Louis’s Report &

    Recommendation, issued a preliminary injunction, and ordered the parties to mediate. ECF 60–61.

    ^at night, Plaintiﬀs submitted two proposed maps—“P1” and “P2”—to the Commission, along

    with a letter explaining them.

           50)     On June 14, the Commission met.

           51)     De Grandy publicly presented the “draft plan proposal,” named Version 12 (“V12”).

           52)     ^e Commission debated proposed changes to V12 and then took a recess.

           53)     Commissioners returned from recess and approved V12 with adopted changes (the

    “2023 Plan”) on a 4-1 vote; the 2023 Plan was later memorialized in writing as Res. 23-271.

           54)     Mayor Suarez let Res. 23-271 become law without his signature, and the City ﬁled

    Res. 23-271 with the Court.

           55)     ^e demographics for the 2023 Plan are below.

                                         2023 Plan Demographics
                                                          2020 Census Voting Age
                        Population and Deviation
                                                                Population
                                                       Hisp.      Black      White
                     D#      Total Pop.    Pop. Dev.
                                                        VAP       VAP         VAP
                     1             87,455       (993)    89.7%      10.9%       3.4%
                     2             89,593       1,145    49.6%       7.7%      36.5%
                     3             89.194         746    84.5%       5.4%      10.5%
                     4             89,555       1,107    90.0%       3.1%       7.2%
                     5             86,444     (2,004)    40.6%      50.3%      10.5%


           56)     The Parties stipulate to the accuracy and veracity of the population and voting-age

    population statistics as presented in the tables above.

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    6. A statement in reasonable detail of issues of fact which remain to be litigated at trial.

            1)       Whether Grove Rights and Community Equity, Inc. (GRACE) has standing to

    challenge the City’s districts, and which districts they have standing to challenge under the 2023

    Plan.

            2)       Whether Engage Miami, Inc. has standing to challenge the City’s districts, and

    which districts they have standing to challenge under the 2023 Plan.

            3)       Whether South Dade Branch of the National Association for the Advancement of

    Colored People (South Dade NAACP) has standing to challenge the City’s districts, and which

    districts they have standing to challenge under the 2023 Plan.

            4)       Whether Miami-Dade Branch of the National Association for the Advancement of

    Colored People (Miami-Dade NAACP) has standing to challenge the City’s districts, and which

    districts they have standing to challenge under the 2023 Plan.

            5)       Whether Clarice Cooper has standing to challenge District 2 under the 2023 Plan.

            6)       Whether Jared Johnson has standing to challenge District 3 under the 2023 Plan.

            7)       Whether Steven Miro has standing to challenge District 3 under the 2023 Plan.

            8)       Whether Alexandra Contreras has standing to challenge District 4 under the 2023

    Plan.

            9)       Whether Yanelis Valdes has standing to challenge District 2 under the 2023 Plan.

            10)      Whether race was the predominant factor in the design of Districts 1, 2, 3, and 4 in

    the 2022 Plan.

            11)      Whether race was the predominant factor in the design of Districts 1, 2, 3, and 4 in

    in the 2023 Plan.




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           12)     Whether the City’s use of race in the design of District 5 in the 2022 Plan was

    narrowly tailored to a compelling state interest.

           13)     Whether the City’s use of race in the design of District 5 in the 2023 Plan was

    narrowly tailored to a compelling state interest.

    7. A concise statement of issues of law on which there is agreement.

           1)      Venue properly rests with this Court.

           2)      “^e Equal Protection Clause prohibits a State, without suﬃcient justiﬁcation, from

    ‘separat[ing] its citizens into diﬀerent voting districts on the basis of race.’” Bethune-Hill v. Va.

    State Bd. of Elections (Bethune-Hill I), 580 U.S. 178, 187 (2017) (quoting Miller v. Johnson, 515

    U.S. 900, 911 (1995)).

           3)      Racial gerrymandering claims involve “a two-step analysis.” Cooper v. Harris, 581

    U.S. 285, 291 (2017).

           4)      First, plaintiﬀs must prove that “race was the predominant factor motivating the

    legislature’s decision to place a signiﬁcant number of voters within or without a particular district,”

    and “that the legislature subordinated traditional race-neutral districting principles . . . to racial

    considerations,” Bethune-Hill I, 580 U.S. at 187 (quoting Miller, 515 U.S. at 916).

           5)      To meet their burden, plaintiﬀs may rely on “‘direct evidence’ of legislative intent,

    ‘circumstantial evidence of a district’s shape and demographics,’ or a mix of both.” Cooper, 581

    U.S. at 291 (quoting Miller, 515 U.S. at 916).

           6)      “Race may predominate even when a reapportionment plan respects traditional

    principles” like compactness and respect for major man-made and natural boundaries. Id. at 189;

    see Shaw v. Hunt (Shaw II), 517 U.S. 899, 907 (1996) (a district’s “irregular contours,” “bizarre

    designs,” and “unnecessary appendage[s]” were probative of racial predominance); In re SJR 1176,



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    83 So. 3d at 618, 636–38 (explaining that respect for major boundaries is a traditional principle for

    redistricting, as embodied in the Florida Constitution).

           7)      Alternative district conﬁgurations that satisfy non-racial criteria can also be

    probative of racial predominance, but no alternative map is required to prove racial predominance.

    Easley v. Cromartie, 532 U.S. 234, 249 (2001); Cooper v. Harris, 581 U.S. 285, 319 (2017) (“An

    alternative map is merely an evidentiary tool to show that such a substantive violation has

    occurred; neither its presence nor its absence can itself resolve a racial gerrymandering claim.”);

    see Ala. Legis. Black Caucus v. Alabama (ALBC II), 231 F. Supp. 3d 1026, 1391 (M.D. Ala. 2017)

    (rejected alternative plans constitute evidence of racial predominance). Similarly, splitting of

    neighborhoods and other subdivisions along racial lines “strongly suggests” racial predominance.

    Covington v. North Carolina, 316 F.R.D. 117, 145, 160 (M.D.N.C. 2016), aﬀ’d, 137 S. Ct. 2211

    (2017); Bethune-Hill v. Va. State Bd. of Elections (Bethune-Hill II), 326 F.Supp.3d 128, 148 (E.D.

    Va. 2018) (split subdivisions indicate racial predominance).

           8)      ^ere is no “special evidentiary prerequisite” for proving racial predominance.

    Cooper, 581 U.S. at 318.

           9)      Second, “if racial considerations predominated over others, the design of the district

    must withstand strict scrutiny. ^e burden shifts to the State to prove that its race-based sorting of

    voters serves a ‘compelling interest’ and is ‘narrowly tailored’ to that end.” Cooper, 581 U.S. at

    292.

           10)     While courts assume compliance with the Voting Rights Act (VRA) is a compelling

    interest, “to meet the ‘narrow tailoring’ requirement,” the State must prove it “had ‘a strong basis

    in evidence’ for concluding that the [VRA] required its action.” Id. (citation omitted). ^is requires

    a “functional analysis of the electoral behavior within the particular . . . district,” Bethune-Hill I,



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    580 U.S. at 194, and the record must support “a strong showing of a pre-enactment analysis with

    justiﬁable conclusions.” Abbott v. Perez, 138 S. Ct. 2305, 2335 (2018).

            11)     ^e constitutionally cognizable injury in a racial gerrymandering case is the fact

    that plaintiﬀs are classiﬁed based on their race. Ala. Legis. Black Caucus v. Alabama (ALBC), 575

    U.S. 254, 263 (2015) (“^ose harms are personal. ^ey include being personally . . . subjected to

    a racial classiﬁcation, as well as being represented by a legislator who believes his primary

    obligation is to represent only the members of a particular racial group.”) (cleaned up). “Where a

    plaintiff resides in a racially gerrymandered district, [] the plaintiff has been denied equal treatment

    because of the legislature’s reliance on racial criteria, and therefore has standing to challenge the

    legislature’s action.” United States v. Hays, 515 U.S. 737, 744–45 (1995) (cleaned up); see also

    Dillard v. Baldwin Cnty. Comm’rs, 225 F.3d 1271, 1279 (11th Cir. 2000) (“If the plaintiﬀ lives in

    the racially gerrymandered district, she has standing” to bring a claim alleging racial

    gerrymandering.)

            12)     An organization has associational standing to assert racial gerrymandering claims

    where the organization’s members “would have standing to sue in their own right, the interests at

    stake are germane to the organization’s purpose, and neither the claims asserted nor the relief

    requested requires individual[] members’ participation in the lawsuit.” ALBC, 575 U.S. at 269

    (cleaned up).

            13)     If race was the predominant factor in the design of Districts 1, 2, 3, or 4, the use of

    race was not justified by a compelling state interest.

    8. A concise statement of issues of law which remain for determination by the Court.

            1)      Whether Plaintiffs have standing to challenge the City’s districts under the 2023

    Plan and which districts they have standing to challenge.



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           2)      Whether the 2022 Plan constitutes racial gerrymandering in violation of the

    Fourteenth Amendment.

           3)      Whether the 2023 Plan constitutes racial gerrymandering in violation of the

    Fourteenth Amendment.

           4)      Whether the City’s use of race in the design of District 5 in the 2022 Plan was

    narrowly tailored to a compelling state interest.

           5)      Whether the City’s use of race in the design of District 5 in the 2023 Plan was

    narrowly tailored to a compelling state interest.

    9. Each party’s numbered list of trial exhibits, other than impeachment exhibits, with
       objections, if any, to each exhibit, including the basis of all objections to each document,
       electronically stored information and thing.

           Plaintiffs’ list of trial exhibits with Defendant’s objections is attached hereto as Exhibit 1.

    Defendant’s list of trial exhibits with Plaintiffs’ objections is attached hereto as Exhibit 2.

    10. Each party’s numbered list of trial witnesses, with their addresses, separately identifying
        those whom the party expects to present and those whom the party may call if the need
        arises.

           Plaintiffs expect to present the following witnesses at trial:

                       1. Miguel De Grandy, c/o undersigned counsel for Defendant

                       2. Dr. Carolyn Abott, c/o undersigned counsel for Plaintiﬀs

                       3. Dr. Bryant Moy, c/o undersigned counsel for Plaintiﬀs

                       4. Dr. Cory McCartan, c/o undersigned counsel for Plaintiﬀs

                       5. Rebecca Pelham, c/o undersigned counsel for Plaintiﬀs

                       6. Rev. Nathaniel Robinson III, c/o undersigned counsel for Plaintiﬀs

                       7. Carolyn Donaldson, c/o undersigned counsel for Plaintiﬀs

                       8. Daniella Pierre, c/o undersigned counsel for Plaintiﬀs



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                        9. Clarice Cooper, c/o undersigned counsel for Plaintiﬀs

                      10. Jared Johnson, c/o undersigned counsel for Plaintiﬀs

                      11. Steven Miro, c/o undersigned counsel for Plaintiﬀs

                      12. Yanelis Valdes, c/o undersigned counsel for Plaintiﬀs

                      13. Alexandra Contreras, c/o undersigned counsel for Plaintiﬀs

            Plaintiﬀs may call the following witnesses at trial if the need arises:

                        1. Harold Ford, c/o undersigned counsel for Plaintiﬀs

                        2. Christopher Johnson, c/o undersigned counsel for Defendant

                        3. Nicholas Warren, c/o undersigned counsel for Plaintiﬀs

                        4. Stephen Cody, c/o undersigned counsel for Defendant

                        5. All persons identiﬁed or called by Defendant

                        6. Any other witnesses needed for impeachment or rebuttal

            Plaintiﬀs plan to designate testimony from the depositions of the following witnesses

    instead of calling them at trial, while reserving the right to call them at trial if the need arises:

                        1. Christina White, Miami-Dade County Elections Department, 2700 NW

                            87th Ave, Doral, FL 33172, (305) 499-8683

                        2. Larry Spring, c/o undersigned counsel for Defendant

                        3. Todd Hannon, c/o undersigned counsel for Defendant

            Defendant expects to present the following witnesses at trial:

                        1. Miguel De Grandy, c/o undersigned counsel for Defendant

                        2. Dr. John Alford, c/o undersigned counsel for Defendant

            Defendant may call the following witnesses at trial if the need arises:

                        1. Dr. Cory McCartan, c/o undersigned counsel for Plaintiﬀs



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                        2. Rebecca Pelham, c/o undersigned counsel for Plaintiﬀs

                        3. Rev. Nathaniel Robinson III, c/o undersigned counsel for Plaintiﬀs

                        4. Carolyn Donaldson, c/o undersigned counsel for Plaintiﬀs

                        5. Daniella Pierre, c/o undersigned counsel for Plaintiﬀs

                        6. Harold Ford, c/o undersigned counsel for Plaintiﬀs

                        7. Clarice Cooper, c/o undersigned counsel for Plaintiﬀs

                        8. Jared Johnson, c/o undersigned counsel for Plaintiﬀs

                        9. Steven Miro, c/o undersigned counsel for Plaintiﬀs

                       10. Yanelis Valdes, c/o undersigned counsel for Plaintiﬀs

                       11. Alexandra Contreras, c/o undersigned counsel for Plaintiﬀs

                       12. Christopher Johnson, c/o undersigned counsel for Defendant

                       13. Nicholas Warren, c/o undersigned counsel for Plaintiﬀs

                       14. Stephen Cody, c/o undersigned counsel for Defendant

                       15. All persons identiﬁed or called by Plaintiﬀ.

                       16. Any other witnesses needed for impeachment or rebuttal.

            Defendant will present counter-designations of testimony from the depositions of the

    following witnesses instead of calling them at trial, while reserving the right to call them at trial if

    the need arises:

                        1. Christina White, Miami-Dade County Elections Department, 2700 NW

                            87th Ave, Doral, FL 33172, (305) 499-8683

                        2. Larry Spring, c/o undersigned counsel for Defendant

                        3. Todd Hannon, c/o undersigned counsel for Defendant




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    11. Estimated trial time.

           Estimated trial time is 6 days.

    12. Where attorney’s fees may be awarded to the prevailing party, an estimate of each party
        as to the maximum amount properly allowable.

           Plaintiﬀs estimate their attorneys’ fees through the end of trial will be $2,000,000.



    Respectfully submitted this 11th day of January, 2024,


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